                                                                  Ftt.Eo,110
                                                                 ON      _ ~NCQ(JR'r
                                         .                             ~       -   .
                   .   UNITED STATES DISTRICT COURT  . Y.9~~,-Jr.~.,~~\ ......
                FOR THE EASTERN DISTRICT OF NORTH CAROL~o~IVcC/ei
                            SOUTHERN DIVISION




UNITED STATES OF AMERICA                         )
                                                 )
                v.                               )           INDICTMENT
                                                 )
                                                 )
MARLON PORTER                                    )
   a/k/a "MARLON McKOY,"                         )
   a/k/a "MARLO,"                                )
RAYMOND KENNEDY                                  )
ITALIA WILLIAMS                                  )



The Grand Jury charges that:


                                    COUNT-ONE

      Beginning in or about December 2018, the exact date. being unknown to the

Grand Jury, and continuing up to and including on or about December 13, 2019, in

the Eastern District of North Carolina, the defendants, MARLON PORTER also

known as "Marlon Mckoy," "Marlo," RAYMOND KENNEDY and ITALIA
         .                                                         .

WILLIAMS, did knowingly and intentionally combine, conspire, confederate, agree

and have a tacit understanding with each other and other persons known and·

unknown to the Grand Jury, to knowingly and intentionally possess with the intent

to· distribute and distribute heroin, a Schedule I controlled substances, and cocaine




                                             1

             Case 7:20-cr-00029-M Document 1 Filed 02/26/20 Page 1 of 10
 .__ t:




Case 7:20-cr-00029-M Document 1 Filed 02/26/20 Page 2 of 10
 and cocaine base (crack), Schedule II controlled substances, in violation of Title 21,

 United States Code, Section 841(a)(l).

            Quantity of Controlled Substances Involved in the Conspiracy

       With respect to the defendant, MARLON PORTER, also known as "Marlon

 McKay," and "Marlo" the amount involved in the conspiracy attributable to him as a

 result of his own conduct, · and the conduct of other conspirators reasonably

 foreseeable to him, is a quantity of a heroin, a Schedule I controlled substance, two-

 hundred and eighty (280) grams or more of a cocaine base (crack) and a quantity of

· cocaine, Schedule II controlled substances, in violation of Title 21, United States

 Code, Sections 841(b)(l)(A) and (C).


      · With respect to the defendant, RAYMOND KENNEDY, the amount involved

 in the conspiracy attributable to him as a result of his own conduct, and the conduct

·. of other conspirators reasonably foreseeable to him, is a quantity of a heroin, a

 Schedule I controlled substance, and a quantity of cocaine and a quantity of cocaine

 base (crack), Schedule II controlled substances, in violation of Title 21, United States

 Code, Section 841(b)(l)(C).


       With respect to the defendant, ITALIA WILLIAMS, the amount involved in.

 the conspiracy attributable to her as a result of her own conduct, and the conduct of

 other conspirators reasonably foreseeable to her, is a quantity of a heroin, a Schedule

 I controlled substance, and a quantity of cocaine and cocaine base (crack), Schedule

 II controlled substances, in violation of Title 21, United States Code, Section

 841(b)(l)(C).

                                            2
            Case 7:20-cr-00029-M Document 1 Filed 02/26/20 Page 3 of 10
       All in violation of Title 21, United States Code, Section 846:




                                     COUNT TWO

       On or about June 26, 2019 in the Eastern District of North Carolina, the

defendant, MARLON PORTER, also known as "Marlon McKay," and "Marlo,"

knowing he had previously been convicted of a crime punishable by imprisonment for

a term exceeding one (1) year, knowingly possessed, a firearm, in and affecting

commerce, in violation of Title 18, United States Code, Sections 922(g)(l) and 924.


                                  COUNT THREE


      On or about July 16,. 2019 in the Eastern District of North Carolina, the

defendant, MARLON PORTER, also known as "Marlon McKay," and "Marlo," did

knowing and intentionally distribute a quantity of heroin, a Sche~ule I controlled

substance, in violation of Title 21, United States Code, Section 841(a)(l).


                                  COUNT FOUR


      On or about July 23, 2019 in the Eastern District of North Carolina, the

defendant, ITALIA WILLIAMS, did· knowing· and intentionally possess with the

intent to distribute a quantity of heroin, a Schedule I controlled substance, in

violation of Title 21, United St3:tes Code, Section 84l(a)(l).




                                            3

           Case 7:20-cr-00029-M Document 1 Filed 02/26/20 Page 4 of 10
                                 COUNT FIVE


      On or about September 23, 2019 in the Eastern District of North Carolina, the

defendant, MARLON PORTER, also known as "Marlon McKoy," and "Marlo", aiding

and abetting another, did knowing and intentionally possess with the intent to

distribute a quantity of heroin, a Schedule I controlled substance, and a quantity of

cocaine and cocaine base (crack), Schedule. II controlled substances, in violation of

Title 21, United States Code, Section 841(a)(l) and Title 18, United States Code,

Section 2.


                                     COUNT SIX

      Ori or about September 23, 2019 in the Eastern District of North Carolina, the

defendant, MARLON PORTER, also known as "Marlon McKoy," and "Marlo," aiding

and· abetting another, knowing that he had previously been convicted of a crime

punishable by imprisonment for a term exceeding one (1) year, knowingly possessed,

a firearm, in and affecting commerce in violation of Title 18, United States Code,

Sections 922(g)(l) and 924 and 2.


                                    COUNT SEVEN


      On or about September 23, 2019, in the Eastern District of North Carolina, the

defendant, MARLON PORTER, also known as ."Marlon McKoy," and "Marlo,", aiding

and abetting another, did knowingly use and carry a firearm during and in relation·

to a trafficking crime for which he may be prosecuted in a court of the United States,

as alleged in Count Five of this Indictment, and did possess said firearm in

                                          4

             Case 7:20-cr-00029-M Document 1 Filed 02/26/20 Page 5 of 10
furtherance of said drug trafficking crime, in violation of Title 18, United States Code,

Section 924(c)(l)(A).


                                  COUNT EIGHT


      On or about December 13, 2019 in the Eastern District of North Carolina, the

defendant; MARLON PORTER, also known as "Marlon McKoyt and "Marlo", and

RAYMOND KENNEDY aiding and abetting each other, did knowing and

intentionally possess with the intent to distribute a.quantity of heroin, a Schedule I

controlled substance; and a quantity of cocaine and cocaine base (crack), Schedule II

controlled substances, all in violation Title 21, United States Code, Section 841 (a)(l)

and Title 18, United State Code, Section, 2.


                                    COUNT NINE

      On or about December 13, 2019 in the Eastern District of North Carolina, the

defendants, MARLON PORTER, also kp.own as "Marlon McKay," and "Marlo," and

RAYMOND KENNEDY, aiding and abetting each .other, and each knowing that he

had previously been convicted of a crime punishable by imprisonment for a term

exceeding one (1) year, knowingly possessed, a firearm, in and affecting commerce in

violation of Title 18, United States Code, Sections 922(g)(l), 924 and 2.


                                    ··COUNT TEN


      On or about December 13, 2019, in the Eastern District of North Carolina, the

defendant, MARLON PORTER, also known as "Marlon McKay," and "Marlo," and

RAYMOND KENNEDY, aiding and abetting each other, did knowingly use and carry

                                           5

          Case 7:20-cr-00029-M Document 1 Filed 02/26/20 Page 6 of 10
a firearm during and in relation to a trafficking crime for which he may be prosecuted

in a court of the United States, as alleged in Count Eight of this Indictment, and did

possess said firearm in furtherance of said drug trafficking crime, in violation of Title

18, United States Code, Sections 924(c)(l)(A) and 2.




                     [Remainder of page intentionally, left blank]




                                           6

          Case 7:20-cr-00029-M Document 1 Filed 02/26/20 Page 7 of 10
                      ALLEGATION OF PRIOR CONVICTION

      For purposes of Title 21, United States Code, Sections 841(b) and 851,

MARLON PORTER, also known as "Marlon McKoy," and "Marlo," committed the

violations alleged in Counts Three, Five and Eight of the Indictment after
.                                                                    .     a prior

conviction for a felony drug offense, as defined in Title 21, United States Code, Section·

802(57), had become final.


                      ALLEGATION OF PRIOR CONVICTION

      For purposes of Title 21, United States Code, Sections 841(b) and 851,

RAYMOND KENNEDY, committed the violations alleged in Count Eight of the

Indictment after a prior conviction for a felony drug offense; as defined in Title 21,

United States Code, Section 802(57), had become final.




             [Remainder of the page intentionally left blank.]




                                           7

          Case 7:20-cr-00029-M Document 1 Filed 02/26/20 Page 8 of 10
                                   FORFEITURE NOTICE

       The defendants are given notice that pursuant to the provisions of Title 21,

United States Code, Section 853 and Title 18, United States Code, Section 924(d), the

latter as made applicable by Title 28, United States Code, Section 246l(c), all of the

. defendants' interest in all property specified herein is subject to forfeiture.

       Upon conviction of any of the controlled substances offense(s) set forth in this

Indictment, the defendants shall forfeit to the United States any property

constituting, or derived from, any proceeds obtained, directly or indirectly, as a result

of the said offense(s) and any propertr used, or intended to be used, in any manner

or part, to commit, or to facilitate the commission of the said offense(s).

       Upon conviction of any of the offense(s) · set forth in this Indictment, the

defendants shall forfeit to the United States any and all firearms or amm1+nition

involved in or used in a knowing commission of the said offense(s).

       The forfeitable property includes, but is not limited to, the following:

       a) a Taurus handgun serial number TLW82584 and ammunition

       b) a .357 handgun serial number 151901 anci ammunition

       c) $3,918 seized on September 23, 2019

       d) a Highpoint handgun serial number 340001 and ammunition
                                                        .             .
       e) a CPX-1 handgun serial number 755352 and ammunition

       f) $1,823 seized on December 13, 2019

       If any of the above-described forfeitable property; as a result of any act or

omission the defendant,



                                             8

           Case 7:20-cr-00029-M Document 1 Filed 02/26/20 Page 9 of 10
       (1) cannot be located upon the exercise of due diligence;

       (2) has been transferred or sold to, or deposited with, a third person;

       (3) has been placed beyond the jurisdiction of the court;

       (4) has been substantially diminished in value; or

       (5) has been commingled with other property which cannot be subdivided

without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), to seek forfeiture of any other property of said defendant ·up to the value of

the above forfeitable property.




ROBERT J. HIGDON, Jr.
United States Attorney

   TSlV£R.e-
BY: TIMOTHY M. SEVERO .
Assistant United States Attorney




                                           9

         Case 7:20-cr-00029-M Document 1 Filed 02/26/20 Page 10 of 10
